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LINK MOTION, INC.
On March 12th, certain media has published a false article entitled "LKM Receiver Announces
Dismissal of Shi Wenyong and Will Take Over Company on Friday.” The facts of this article are
clearly one-sided, ambiguous and erroneous, creating misunderstandings to shareholders, the
public, the media, employees, etc.

 In order to clarify the facts and eliminate unwanted influence, the Company's board of directors
and majority shareholders voted unanimously to make the following resolutions:

 1. In view of the normal and sound daily operation of the company, the shareholders' meeting
and the board of directors, the minority shareholders' litigation has no factual and legal basis.
The US and Hong Kong courts do not have jurisdiction over the Company, and there is no
official judicial process being initiated. Therefore, it can be determined that the minority
shareholders’ intent to take over the Company is completely invalid, and such act has seriously
violated the legitimate rights and interests of majority shareholders and the Company;

 2. Authorize the management and board of the Company to pursue the losses caused by the
minority shareholders and related responsible individuals to the Company and major
shareholders to the Company and majority shareholders; request the aforementioned media to
immediately cease and desist false reports; and retain lawyers to challenge the jurisdiction of the
U.S. and Hong Kong courts;

 3. Require the management of the company to continue to perform its duties and keep the
company in normal operation.

 I hope that the media, the public can distinguish the facts from false information, and help
eliminate the negative impact of the false information. Thank you!
